            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 1 of 14 Page ID #:74




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              7 ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
                CORPORATION (incorrectly named and sued as “RBC WEALTH
              8 MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
                INC.”), and THE ROYAL BANK OF CANADA US WEALTH
              9 ACCUMULATION PLAN
             10
             11                      UNITED STATES DISTRICT COURT
             12                    CENTRAL DISTRICT OF CALIFORNIA
             13
             14   STEVEN BENHAYON,                           Case No. CV08-06090 FMC (AGRx)
             15                    Plaintiff,                DEFENDANTS’ ANSWER TO
                                                             PLAINTIFF’S FIRST AMENDED
             16        v.                                    COMPLAINT
             17   ROYAL BANK OF CANADA, a
                  Canadian company, business form
             18   unknown; RBC WEALTH
                  MANAGEMENT COMPANY, formerly              Action Filed: September 17, 2008
             19   RBC DAIN RAUSCHER, INC.,                  Trial Date:   None Set
                  business form unknown; THE ROYAL
             20   BANK OF CANADA US WEALTH
                  ACCUMULATION PLAN, formerly
             21   known as RBC Dain Rauscher Wealth
                  Accumulation Plan; and, DOES 1
             22   through 20,
             23                    Defendants.
             24
             25
             26
             27
             28
                                                                     CASE NO. CV08-06090 FMC (AGRx)
6894544_7                         DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 2 of 14 Page ID #:75




              1         Defendants Royal Bank of Canada (“RBC”), the Royal Bank of Canada U.S.
              2   Wealth Accumulation Plan (“the Plan”), and RBC Capital Markets Corporation
              3   (“RBCCMC”) (incorrectly named and sued as “RBC WEALTH MANAGEMENT
              4   COMPANY, formerly RBC DAIN RAUSCHER, INC.”), hereby answer Plaintiff
              5   Steven Benhayon’s (“Plaintiff”) First Amended Complaint (the “Complaint”) as
              6   follows:
              7         1.     With regard to the averments contained in paragraph 1, Defendants are
              8   without sufficient information or knowledge to form a belief as to Plaintiff’s residence
              9   or age, and on that basis deny same.
             10         2.     Defendants admit the averments contained in paragraph 2.
             11         3.     Defendants deny that the entity formerly known as “RBC Dain Rauscher,
             12   Inc” has changed its name to “RBC Wealth Management Company.” Defendants
             13   admit the remaining averments of paragraph 3.
             14         4.     Defendants admit the existence of the Royal Bank of Canada U.S. Wealth
             15   Accumulation Plan, formerly known as the RBC Dain Rauscher Wealth Accumulation
             16   Plan, and that Plaintiff was formerly a participant in the Plan. Defendants further
             17   admit that Exhibit A to the Complaint is an accurate copy of the April 1, 2003
             18   Summary Description and Prospectus for the Plan. Defendants deny that the Plan is a
             19   legal entity with the capacity to be sued, as it is a compensation program which is not
             20   covered by the Employee Retirement Income Security Act of 1974, as amended. The
             21   averments of paragraph 4 regarding the provisions of the Employee Retirement
             22   Income Security Act of 1974, as amended, state legal conclusions to which no
             23   response is required. Defendants deny the remaining averments of paragraph 4.
             24         5.     Defendants are without sufficient information or knowledge to form a
             25   belief as to the truth of the averments of paragraph 5 of the Complaint, and on that
             26   basis deny same.
             27         6.     Defendants deny the averments of paragraph 6 of the Complaint.
             28         7.     Defendants are without sufficient information or knowledge to form a
                                                          1            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                            DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 3 of 14 Page ID #:76




              1   belief as to the truth of the averments of paragraph 7 of the Complaint, and on that
              2   basis deny same.
              3         8.     Paragraph 8 of the Complaint states legal conclusions to which no
              4   response is required.
              5         9.     Paragraph 9 of the Complaint states legal conclusions to which no
              6   response is required.
              7         10.    Paragraph 10 of the Complaint states legal conclusions to which no
              8   response is required.
              9         11.    Defendants RBCCMC and the Plan deny the averments of paragraph 11
             10   of the Complaint. Defendant RBC lacks information or knowledge sufficient to form
             11   a belief as to the truth of the averments of paragraph 11 of the Complaint and on that
             12   basis denies same.
             13         12.    Defendants RBCCMC and the Plan admit that correspondence was
             14   exchanged between representatives of the Plan and Plaintiff’s authorized representative
             15   on the dates identified. Defendants RBCCMC and the Plan deny that this exchange
             16   constituted a claim for benefits pursuant to the Plan or an appeal from the denial of a
             17   claim for benefits under the Plan. Defendants RBCCMC and the Plan lack information
             18   or knowledge sufficient to form a belief as to the truth of the averments of paragraph 12
             19   of the Complaint insofar as they pertain to RBC and on that basis denies same.
             20   Defendant RBC denies the averments of paragraph 12 of the Complaint insofar as they
             21   pertain to RBC. Defendant RBC lacks information or knowledge sufficient to form a
             22   belief as to the truth of the averments of paragraph 12 of the Complaint insofar as they
             23   pertain to RBCCMC or the Plan and on that basis denies same.
             24         13.    Defendant RBCCMC is without sufficient information or knowledge to
             25   form a belief as to whether Plaintiff has received a right to sue notice from the United
             26   States Equal Opportunity Commission and on that basis denies same. Defendant
             27   RBCCMC admits the remaining averments of paragraph 13 of the Complaint.
             28   Defendants RBC and the Plan lack information or knowledge sufficient to form a
                                                            2            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                              DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 4 of 14 Page ID #:77




              1   belief as to the truth of any of the averments of paragraph 13 of the Complaint and on
              2   that basis deny same.
              3         14.      Defendants RBCCMC and RBC admit that RBCCMC can be found in
              4   this judicial district. Defendants RBCCMC and RBC deny that RBC can be found in
              5   this judicial district. All Defendants deny that the Plan can be found in this judicial
              6   district, on the grounds that it is not a legal entity which can be sued because it is a
              7   compensation program which is not subject to the Employee Retirement Income
              8   Security Act of 1974, as amended. The Plan lacks information or knowledge sufficient
              9   to form a belief as whether any other defendant can be found in this judicial district
             10   and on that basis denies the averments of paragraph 14 regarding same
             11         15.      Defendants incorporate by reference their responses to paragraphs 1
             12   through 14, above, as if fully set forth herein.
             13         16.      Defendants RBCCMC and the Plan admit that Plaintiff was employed by
             14   RBCCMC or a predecessor or related entity from November 8, 1990 until September
             15   17, 2007. Defendants RBCCMC and the Plan further admit that Plaintiff was eligible
             16   to participate in the Plan at certain times during his employment. Defendants
             17   RBCCMC and the Plan deny the remaining averments of paragraph 16 of the
             18   Complaint. Defendant RBC lacks information sufficient to form a belief as to the
             19   truth of any of the allegations of paragraph 16 of the Complaint and on that basis
             20   denies same.
             21         17.      Defendants RBCCMC and the Plan admit that Plaintiff was hired by
             22   RBCCMC or a predecessor or related entity on or about November 8, 1990.
             23   Defendants RBCCMC and the Plan deny the remaining averments of paragraph 17.
             24   Defendant RBC lacks information sufficient to form a belief as to the truth of any of
             25   the allegations of paragraph 17 of the Complaint and on that basis denies same.
             26         18.      Defendants RBCCMC and the Plan admit that Plaintiff’s employment
             27   with RBCCMC or a predecessor or related entity ended on September 17, 2007.
             28   Defendants RBCCMC and the Plan deny the remaining averments of paragraph 18
                                                            3            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                              DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 5 of 14 Page ID #:78




              1   insofar as they pertain to themselves. Defendants RBCCMC and the Plan lack
              2   information or knowledge sufficient to form a belief as the remaining averments of
              3   paragraph 18 insofar as they pertain to any other defendant and on that basis deny
              4   same. Defendant RBC denies the averments of paragraph 18 in their entirety insofar
              5   as they pertain to RBC. Defendant RBC lacks information or knowledge sufficient to
              6   form a belief as any of the averments of paragraph 18 insofar as they pertain to any
              7   other defendant and on that basis denies same.
              8         19.    Defendants RBCCMC and the Plan deny the averments of paragraph 19.
              9   Defendant RBC lacks information or knowledge sufficient to form a belief as to the
             10   truth of the averments of paragraph 19 and on that basis denies same.
             11         20.    Defendants RBCCMC and the Plan deny the averments of paragraph 20.
             12   Defendant RBC lacks information or knowledge sufficient to form a belief as to the
             13   truth of the averments of paragraph 20 and on that basis denies same.
             14         21.    Defendant RBCCMC denies the averments of paragraph 21 insofar as
             15   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
             16   knowledge sufficient to form a belief as the truth of the averments of paragraph 21
             17   insofar as they pertain to any other defendant and on that basis denies same.
             18   Defendants RBC and the Plan deny the averments of paragraph 21 insofar as they
             19   pertain to themselves. Defendants RBC and the Plan lack information or knowledge
             20   sufficient to form a belief as to the truth of the averments of paragraph 21 insofar as
             21   they pertain to any other defendant and on that basis deny same.
             22         22.    Defendant RBCCMC denies the averments of paragraph 22 insofar as
             23   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
             24   knowledge sufficient to form a belief as the truth of the averments of paragraph 22
             25   insofar as they pertain to any other defendant and on that basis denies same.
             26   Defendants RBC and the Plan deny the averments of paragraph 22 insofar as they
             27   pertain to themselves. Defendants RBC and the Plan lack information or knowledge
             28   sufficient to form a belief as to the truth of the averments of paragraph 22 insofar as
                                                          4            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                            DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 6 of 14 Page ID #:79




              1   they pertain to any other defendant and on that basis deny same.
              2         23.    Defendants RBCCMC and the Plan deny the averments of paragraph 23
              3   of the Complaint. Defendant RBC lacks information or knowledge sufficient to form
              4   a belief as to the truth of the averments of paragraph 23 and on that basis denies same.
              5         24.    Defendants RBCCMC denies the averments of paragraph 24 insofar as
              6   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
              7   knowledge sufficient to form a belief as to the truth of the averments of paragraph 24
              8   insofar as they pertain to any other defendant and on that basis denies same.
              9   Defendants RBC and the Plan deny the averments of paragraph 24 of the Complaint
             10   insofar as they pertain to themselves. Defendants RBC and the Plan lack information
             11   or knowledge sufficient to form a belief as to the truth of the averments of paragraph
             12   24 insofar as they pertain to any other defendant and on that basis deny same.
             13         25.    Defendants RBCCMC denies the averments of paragraph 25 insofar as
             14   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
             15   knowledge sufficient to form a belief as to the truth of the averments of paragraph 25
             16   insofar as they pertain to any other defendant and on that basis denies same.
             17   Defendants RBC and the Plan deny the averments of paragraph 25 of the Complaint
             18   insofar as they pertain to themselves. Defendants RBC and the Plan lack information
             19   or knowledge sufficient to form a belief as to the truth of the averments of paragraph
             20   25 insofar as they pertain to any other defendant and on that basis deny same.
             21         26.    Defendant incorporates by reference its responses to paragraphs 1 through
             22   25, above, as if fully set forth herein.
             23         27.    Paragraph 27 states legal conclusions to which no response is required.
             24         28.    Defendants RBCCMC and the Plan admit that Plaintiff’s employment
             25   with RBCCMC or a predecessor or related entity ended on September 17, 2007.
             26   Defendants RBCCMC and the Plan deny the remaining averments of paragraph 28
             27   insofar as they pertain to themselves. Defendants RBCCMC and the Plan lack
             28   information or knowledge sufficient to form a belief as the averments of paragraph 28
                                                           5            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                             DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 7 of 14 Page ID #:80




              1   insofar as they pertain to any other defendant and on that basis deny same. Defendant
              2   RBC denies the averments of paragraph 28 in their entirety insofar as they pertain to
              3   RBC. Defendant RBC lacks information or knowledge sufficient to form a belief as to
              4   the truth of any of the averments of paragraph 28 insofar as they pertain to any other
              5   defendant and on that basis denies same.
              6         29.    Defendant RBCCMC denies the averments of paragraph 29 insofar as
              7   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
              8   knowledge sufficient to form a belief regarding the motives or actions of any other
              9   defendant and on that basis denies the averments of paragraph 29 insofar as they
             10   pertain to any other defendant. Defendants RBC and the Plan deny the averments of
             11   paragraph 29 insofar as they pertain to themselves. Defendants RBC and the Plan lack
             12   information or knowledge sufficient to form a belief regarding the motives or actions
             13   of any other defendant and on that basis denies the averments of paragraph 29 insofar
             14   as they pertain to any other defendant.
             15         30.    Defendant RBCCMC denies the averments of paragraph 30 insofar as
             16   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
             17   knowledge sufficient to form a belief regarding the motives or actions of any other
             18   defendant and on that basis denies the averments of paragraph 30 insofar as they
             19   pertain to any other defendant. Defendants RBC and the Plan deny the averments of
             20   paragraph 30 insofar as they pertain to themselves. Defendants RBC and the Plan lack
             21   information or knowledge sufficient to form a belief regarding the motives or actions
             22   of any other defendant and on that basis denies the averments of paragraph 30 insofar
             23   as they pertain to any other defendant.
             24         31.    Defendant RBCCMC denies the averments of paragraph 31 insofar as
             25   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
             26   knowledge sufficient to form a belief regarding the consequences of the actions of any
             27   other defendant and on that basis denies the averments of paragraph 31 insofar as they
             28   pertain to any other defendant. Defendants RBC and the Plan deny the averments of
                                                          6            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                            DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 8 of 14 Page ID #:81




              1   paragraph 31 insofar as they pertain to themselves. Defendants RBC and the Plan lack
              2   information or knowledge sufficient to form a belief regarding the motives or actions
              3   of any other defendant and on that basis deny the averments of paragraph 31 insofar as
              4   they pertain to any other defendant.
              5         32.    Defendant RBCCMC denies the averments of paragraph 32 insofar as
              6   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
              7   knowledge sufficient to form a belief regarding the consequences of the actions of any
              8   other defendant and on that basis denies the averments of paragraph 32 insofar as they
              9   pertain to any other defendant. Defendants RBC and the Plan deny the averments of
             10   paragraph 32 insofar as they pertain to themselves. Defendants RBC and the Plan lack
             11   information or knowledge sufficient to form a belief regarding the motives or actions
             12   of any other defendant and on that basis deny the averments of paragraph 32 insofar as
             13   they pertain to any other defendant.
             14         33.    Defendants deny the averments of paragraph 33.
             15         34.    Defendants incorporate by reference its responses to paragraphs 1 through
             16   33, above, as if fully set forth herein.
             17         35.    Paragraph 35 states a legal conclusion to which no response is required.
             18         36.    Defendant RBCCMC denies the averments of paragraph 36 insofar as
             19   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
             20   knowledge sufficient to form a belief regarding the actions of any other defendant and
             21   on that basis denies the averments of paragraph 36 insofar as they pertain to any other
             22   defendant. Defendants RBC and the Plan deny the averments of paragraph 36 insofar
             23   as they pertain to themselves. Defendants RBC and the Plan lack information or
             24   knowledge sufficient to form a belief regarding the motives or actions of any other
             25   defendant and on that basis deny the averments of paragraph 36 insofar as they pertain
             26   to any other defendant.
             27         37.    Defendant RBCCMC denies the averments of paragraph 37 insofar as
             28   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
                                                           7            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                             DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 9 of 14 Page ID #:82




              1   knowledge sufficient to form a belief regarding the actions of any other defendant and
              2   on that basis denies the averments of paragraph 37 insofar as they pertain to any other
              3   defendant. Defendants RBC and the Plan deny the averments of paragraph 36 insofar
              4   as they pertain to themselves. Defendants RBC and the Plan lack information or
              5   knowledge sufficient to form a belief regarding the motives or actions of any other
              6   defendant and on that basis deny the averments of paragraph 37 insofar as they pertain
              7   to any other defendant.
              8         38.    Defendants admit the existence of California Labor Code section 201, the
              9   terms of which speak for themselves. Defendant RBCCMC denies the remaining
             10   averments of paragraph 37 insofar as they pertain to RBCCMC or the Plan. Defendant
             11   RBCCMC lacks information or knowledge sufficient to form a belief regarding the
             12   actions of any other defendant and on that basis denies the remaining averments of
             13   paragraph 38 insofar as they pertain to any other defendant. Defendants RBC and the
             14   Plan deny the remaining averments of paragraph 38 insofar as they pertain to
             15   themselves. Defendants RBC and the Plan lack information or knowledge sufficient to
             16   form a belief regarding the motives or actions of any other defendant and on that basis
             17   deny the remaining averments of paragraph 38 insofar as they pertain to any other
             18   defendant.
             19         39.    Defendants admit the existence of the California Fair Employment and
             20   Housing Act, California Government Code section 12920 et seq., the terms of which
             21   speak for themselves. Defendant RBCCMC denies the remaining averments of
             22   paragraph 39 insofar as they pertain to RBCCMC or the Plan. Defendant RBCCMC
             23   lacks information or knowledge sufficient to form a belief regarding the actions of any
             24   other defendant and on that basis denies the remaining averments of paragraph 39
             25   insofar as they pertain to any other defendant. Defendants RBC and the Plan deny the
             26   remaining averments of paragraph 39 insofar as they pertain to themselves.
             27   Defendants RBC and the Plan lack information or knowledge sufficient to form a
             28   belief regarding the motives or actions of any other defendant and on that basis deny
                                                          8            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                            DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 10 of 14 Page ID #:83




               1   the remaining averments of paragraph 39 insofar as they pertain to any other
               2   defendant.
               3         40.    Defendants admit the existence of the Age Discrimination in Employment
               4   Act, 29 U.S.C. section 621 et seq., the terms of which speak for themselves.
               5   Defendant RBCCMC denies the remaining averments of paragraph 40 insofar as they
               6   pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
               7   knowledge sufficient to form a belief regarding the actions of any other defendant and
               8   on that basis denies the remaining averments of paragraph 40 insofar as they pertain to
               9   any other defendant. Defendants RBC and the Plan deny the remaining averments of
              10   paragraph 38 insofar as they pertain to themselves. Defendants RBC and the Plan lack
              11   information or knowledge sufficient to form a belief regarding the motives or actions
              12   of any other defendant and on that basis deny the remaining averments of paragraph
              13   40 insofar as they pertain to any other defendant.
              14         41.    Paragraph 41 states a legal conclusion to which no response is required.
              15         42.    Defendant RBCCMC denies the averments of paragraph 42 insofar as
              16   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
              17   knowledge sufficient to form a belief regarding the actions of any other defendant and
              18   on that basis denies the averments of paragraph 42 insofar as they pertain to any other
              19   defendant. Defendants RBC and the Plan deny the averments of paragraph 42 insofar
              20   as they pertain to themselves. Defendants RBC and the Plan lack information or
              21   knowledge sufficient to form a belief regarding the motives or actions of any other
              22   defendant and on that basis deny the averments of paragraph 42 insofar as they pertain
              23   to any other defendant.
              24         43.    Defendant RBCCMC denies the averments of paragraph 43 insofar as
              25   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
              26   knowledge sufficient to form a belief regarding the actions of any other defendant and
              27   on that basis denies the averments of paragraph 43 insofar as they pertain to any other
              28   defendant. Defendants RBC and the Plan deny the averments of paragraph 43 insofar
                                                           9            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                             DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 11 of 14 Page ID #:84




               1   as they pertain to themselves. Defendants RBC and the Plan lack information or
               2   knowledge sufficient to form a belief regarding the motives or actions of any other
               3   defendant and on that basis deny the averments of paragraph 43 insofar as they pertain
               4   to any other defendant.
               5          44.    Defendant RBCCMC denies the averments of paragraph 44 insofar as
               6   they pertain to RBCCMC or the Plan. Defendant RBCCMC lacks information or
               7   knowledge sufficient to form a belief regarding the actions of any other defendant and
               8   on that basis denies the averments of paragraph 44 insofar as they pertain to any other
               9   defendant. Defendants RBC and the Plan deny the averments of paragraph 44 insofar
              10   as they pertain to themselves. Defendants RBC and the Plan lack information or
              11   knowledge sufficient to form a belief regarding the motives or actions of any other
              12   defendant and on that basis deny the averments of paragraph 44 insofar as they pertain
              13   to any other defendant.
              14          45.    The remaining averments in the Complaint constitute Plaintiff’s prayer
              15   for relief and therefore no response is required. Defendant denies that Plaintiff is
              16   entitled to the relief requested, or any relief, in this action.
              17                              FIRST AFFIRMATIVE DEFENSE
              18          46.    Plaintiff’s claims against Defendant, and each of them, are barred by his
              19   failure to allege facts sufficient to constitute a cause of action.
              20                             SECOND AFFIRMATIVE DEFENSE
              21          47.    Plaintiff’s claims against the Plan, and each of them, are barred because
              22   Defendant is not a legal entity with the capacity to be sued.
              23                             THIRD AFFIRMATIVE DEFENSE
              24          48.    Plaintiff’s Complaint fails to state facts sufficient to support a claim for
              25   punitive damages under applicable law.
              26                            FOURTH AFFIRMATIVE DEFENSE
              27          49.    Defendant is informed and believes, and on that basis alleges, that
              28   Plaintiff has failed to take reasonable steps to mitigate his damages, if any.
                                                            10            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                               DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 12 of 14 Page ID #:85




               1   Accordingly, Plaintiff is barred from recovering any damages, or any recovery of
               2   damages must be reduced.
               3                             FIFTH AFFIRMATIVE DEFENSE
               4         50.    Plaintiff’s claims against Defendant are barred, in whole or in part, by the
               5   applicable statutes of limitations.
               6                            SIXTH AFFIRMATIVE DEFENSE
               7         51.    Plaintiff’s claims for emotional injuries allegedly suffered as a result of
               8   his employment or the termination thereof are barred, in that his sole and exclusive
               9   remedy for any such purported injuries is governed by the California’s Workers
              10   Compensation Act, California Labor Code §§ 3600 et seq.
              11                          SEVENTH AFFIRMATIVE DEFENSE
              12         52.    Plaintiff’s claims against Defendant are barred, in whole or in part, by the
              13   doctrine of avoidable consequences.
              14                           EIGHTH AFFIRMATIVE DEFENSE
              15         53.    Plaintiff’s claims against Defendant are barred, in whole or in part,
              16   because Plaintiff has suffered no legally cognizable damages as a result of the matters
              17   he alleges in the Complaint.
              18                            NINTH AFFIRMATIVE DEFENSE
              19         54.    Plaintiff’s claims against Defendant are barred, in whole or in part,
              20   because there were good and sufficient lawful causes and reasons for any alleged
              21   adverse employment actions that affected Plaintiff.
              22                            TENTH AFFIRMATIVE DEFENSE
              23         55.    Plaintiff’s claims against Defendant are barred, in whole or in part,
              24   because Plaintiff has failed to exhaust the administrative remedies available to him, as
              25   required by applicable law.
              26                         ELEVENTH AFFIRMATIVE DEFENSE
              27         56.    Plaintiff’s claims against Defendant are barred, in whole or in part,
              28   because Defendant’s conduct was a just and proper exercise of managerial discretion,
                                                           11            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                              DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 13 of 14 Page ID #:86




               1   undertaken for fair and honest reasons, comporting with good faith under the
               2   circumstances then existing, and was privileged and justified.
               3                          TWELFTH AFFIRMATIVE DEFENSE
               4         57.    Plaintiff’s claims for tort damages and punitive damages are barred by the
               5   contract clause (Article I, Section 10, clause 1), the due process clause (Fifth
               6   Amendment, Fourteenth Amendment, Section 1), and the excessive fines clause
               7   (Eighth Amendment) of the United States Constitution, and the corresponding
               8   provisions of the Constitution of the State of California.
               9                        THIRTEENTH AFFIRMATIVE DEFENSE
              10         58.    Any non-economic damages, if any, sustained by Plaintiff were due to the
              11   fault of someone other than Defendant, and under the Fair Responsibility Act of 1986,
              12   Cal. Civil Code § 1431.2, Defendant can only be held liable for those non-economic
              13   damages, if any, proportionally caused by the fault of Defendant .
              14                       FOURTEENTH AFFIRMATIVE DEFENSE
              15         59.    Plaintiff’s claims against Defendant are barred, in whole or in part,
              16   because his employment was at all times terminable at-will.
              17                         FIFTEENTH AFFIRMATIVE DEFENSE
              18         60.    Defendant alleges that Plaintiff’s Complaint, and each and every cause of
              19   action asserted therein, is barred to the extent that Plaintiff, by reason of his own
              20   conduct and actions, has waived any of his purported causes of action against
              21   Defendant.
              22                         SIXTEENTH AFFIRMATIVE DEFENSE
              23         61.    Defendant alleges that the Complaint, and each and every cause of action
              24   asserted therein, is barred by the doctrine of estoppel.
              25                       SEVENTEENTH AFFIRMATIVE DEFENSE
              26         62.    Defendant alleges that the Complaint, and each and every cause of action
              27   asserted therein, is barred by the doctrine of unclean hands.
              28                       EIGHTEENTH AFFIRMATIVE DEFENSE
                                                           12            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                              DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
            Case 2:08-cv-06090-FMC-AGR Document 11 Filed 01/13/09 Page 14 of 14 Page ID #:87




               1         63.    Defendant alleges that at all times relevant hereto, it acted without malice
               2   and with the good faith belief in the propriety of its conduct.
               3                       NINETEENTH AFFIRMATIVE DEFENSE
               4         64.    Plaintiff’s claims are barred by the doctrine of laches.
               5                        TWENTIETH AFFIRMATIVE DEFENSE
               6         65.    Plaintiff’s claims are against Defendant barred, in whole or in part,
               7   because the Plan is not subject to the provisions of Employee Retirement Income
               8   Security Act of 1974, as amended.
               9                      TWENTY-FIRST AFFIRMATIVE DEFENSE
              10         66.    Plaintiff’s claims against Defendant are barred, in whole or in part,
              11   because they are preempted by the provisions of Employee Retirement Income
              12   Security Act of 1974, as amended.
              13         WHEREFORE, Defendant prays as follows:
              14         1.     That Plaintiff take nothing by this action;
              15         2.     That judgment be entered in favor of Defendant;
              16         3.     For costs of suit and for attorneys’ fees incurred; and
              17         4.     For such other and further relief as the Court deems just and proper.
              18   DATED: January 13, 2009                    OGLETREE, DEAKINS, NASH, SMOAK
              19                                              & STEWART, P.C.
              20
              21
                                                              By:        /s/ Christopher Decker
              22                                                          Christopher W. Decker
              23                                              Attorneys for Defendants
                                                              ROYAL BANK OF CANADA, RBC
              24                                              CAPITAL MARKETS CORPORATION
                                                              (incorrectly named and sued as “RBC
              25                                              WEALTH MANAGEMENT COMPANY,
                                                              formerly RBC DAIN RAUSCHER, INC.”),
              26                                              and THE ROYAL BANK OF CANADA US
                                                              WEALTH ACCUMULATION PLAN
              27
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                                                           13            CASE NO. CV08-06090 FMC (AGRx)
6894544_7                              DEFENDANTS’ ANSWER TO FIRST AMENDED COMPLAINT
